          Case 1:19-cv-06454-BMC Document 21
                                          20 Filed 03/20/20
                                                   03/18/20 Page 1 of 2 PageID #: 147
                                                                                  145

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Eastern District of New York


                         Ashley Maher                                 )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 19 CV 6454 (BMC)
                                                                      )
  City of New York; Detective Jason Greenberg; and                    )
              Police Officer John Doe 1                               )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Detective Jason Greenberg
                                           Shield #3500
                                           New York City Police Department
                                           Staten Island Narcotics
                                           1 Police Plaza
                                           New York, New York 10038


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Gabriel P. Harvis, Esq.
                                           Elefterakis Elefterakis & Panek
                                           80 Pine Street, 38th Floor
                                           New York, New York 10005



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             03/20/2020                                                          Douglas C. Palmer, by Roseann Guzzi
                                                                                          Signature of Clerk or Deputy Clerk
Case 1:19-cv-06454-BMC Document 21 Filed 03/20/20 Page 2 of 2 PageID #: 148
